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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re: U LOCK INC. a/k/a

U-LOCK INC. Bank. 22-20823-GLT

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) Chapter 7
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Movant,
v.
SHANNI SNYDER,

Respondent.

OPPOSITION TO THE EMERGENCY MOTION FOR ENTRY OF AN
ORDER (I) DISMISSING THE CASE AND FOR SANCTIONS AGAINST
THE PETITIONING CREDITOR, OR IN THE ALTERNATIVE (II)
MAKING A DETERMINATION THAT THE AUTOMATIC STAY IS
INAPPLICABLE TO THE STATE COURT ACTION PURSUANT TO 11
USC 362(b)(10), OR IN THE ALTERNATIVE (III) GRANTING RELIEF
FROM THE AUTOMATIC STAY TO THE MOVANT IN RELATION TO
THE MOVANT’S PROPERTY AND THE STATE COURT CASE, OR IN
THE ALTERNATIVE, ABANDONING THE MOVANT’S PROPERTY

Petitioning Creditor Shanni Snyder (“Snyder”) files this, her
Opposition to the Emergency Motion:
BACKGROUND

In 2015, Unsecured Creditor Christine Biros (“Biros”) provided U
Lock an unsecured loan to purchase a property that consists of

valuable highway frontage and presently houses a self-storage
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business.

The contract contained neither a security agreement nor security
interest. Neither a lien nor a bona fide mortgage was established. The
contract simply states, “This loan agreement between U Lock Inc.
(borrower) a Pennsylvania corporation and Christine Biros (lender)
and/or Guarantor collateralized from S+T bank for the sum of
$325,316.00 the terms + conditions of the payment will be agreed
upon on or before 8/16/15. Lender will set terms if agreement is not
settled by that date. /s/ Kash Snyder, Director, U Lock Inc. 7/16/15.”
See Exhibit F.

Nearly two years later, on May 5, 2017, Biros sent an unsigned
demand letter to U Lock stating that she added accrued interest at
nine percent (9%), required a security interest in the property with all
officers of U Lock personally liable, all of the lender’s “legal fees” and
any other charges the “lender may incur.” See Exhibit G.

U Lock apparently neither signed the letter nor agreed to its
terms.

In October 2017, Biros filed suit, but instead of seeking to collect
her money, she asked the Court to award her deeds to the property
because she averred that U Lock’s deeds were void ab initio because of
a filing mistake in U Lock’s Articles of Incorporation.

In 2018, the seller of the property rendered new deeds to U Lock.

At the same time, in exchange for payment of $10,000 and deeds in
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the name of Christine Biros that stated the original deeds were void ab
initio (which were to be placed in the safe of the Westmoreland County
court until final disposition), Biros allowed the seller of the property to
be removed from the case.

After trial, the Court of Common Pleas issued a decision that
non-payment to Biros would constitute an unjust enrichment.
Therefore, because the court found U Lock to be insolvent, it created a
constructive trust for Biros. However, the court never considered or
allowed the claims of other creditors. As to the deeds, the court ruled
the 2015 deeds were void. However, it ruled that the 2018 deeds were
valid and did transfer the property to U Lock. Pursuant to the
constructive trust, the ownership of the property would ultimately be
provided to Biros. U Lock appealed.

The Superior Court of Pennsylvania heard an appeal and
rendered an opinion. In that opinion, the Court affirmed the creation
of a constructive trust for Biros to prevent an unjust enrichment, but
also made it clear that the 2018 deeds transferred ownership of the
property to U Lock. Biros v. U Lock, 255 A3d 489, 494 (Pa. Super.
2021)(“Furthermore, the trial court accepted the legitimacy of the
2018 Deeds: ‘Even accounting for the void ab initio status of the [2015
Deeds], the corrective [2018 Deeds], show legal title in the [Property]
belonging to U Lock, Inc.”).

U Lock petitioned the Supreme Court of Pennsylvania for leave to
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appeal. Because of the petition, the Superior Court did not remand
the record to the Court of Common Pleas. (This is similar to a federal
appellate court withholding the mandate).

In the interim, Petitioning Creditor received a federal judgment
against U Lock based on a wage lawsuit. Petitioning Creditor properly
lodged the judgment during 2021 with the Court of Common Pleas.
Pursuant to 28 USC 3201, a “judgment in a civil action shall create a
lien on all real property of a judgment debtor on filing a certified copy
of the abstract of the judgment in the manner in which a notice of tax
lien would be filed under paragraphs (1) and (2) of section 6323(f) of
the Internal Revenue Code of 1986. A lien created under this
paragraph is for the amount necessary to satisfy the judgment,
including costs and interest.” Petitioning Creditor’s judgment lien
“shall have priority over any other lien or encumbrance which is
perfected later in time.” 28 USC 3201(b). See Exhibit A.

On January 16, 2022, the Supreme Court of Pennsylvania
denied U Lock’s petition seeking leave to appeal. However, pending
reconsideration petitions or other motions, it also did not remand the
record to the Court of Common Pleas.

Notwithstanding that Pennsylvania Rule of Appellate Procedure
1701(a) provides that the lower court cannot proceed further, counsel
for Biros’ staff had an ex parte discussion with the judge’s law clerk

and asked that the property be transferred to Biros. Counsel for
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Biros, without notifying anyone, obtained an Order from the Court of
Common Pleas allowing the deeds from the seller to Biros to be filed.

On January 25, 2022, Biros filed the deeds with the
Westmoreland County Recorder of Deeds. The deeds, however,
incorrectly claim that the 2018 deeds to U Lock were declared void.
The deeds that Biros filed were not signed or approved by the Court.
Biros never asked the Court to invoke its constructive trust and have
U Lock, as trustee, transfer its interests to her, as should have been
done. Therefore, both deeds are on file with no cancellation notations
with the Recorder of Deeds.

As U Lock did not know that Biros filed the backdated deeds
from the seller, it asked the Supreme Court of Pennsylvania to
withhold remanding the record so it could appeal to the Supreme
Court of the United States. Biros, without mentioning that she
obtained deeds “unilaterally,” moreless consented but asked that the
property taxes be paid. On March 16, 2022, the Supreme Court
granted U Lock’s motion to withhold remand of the record. It is clear
from this Order that the Supreme Court of Pennsylvania assumed the
status quo was in place.’ See Exhibit E.

In the interim, U Lock never received notice of the Orders
because, as the judge explained at its hearing on April 22, 2022, the

state court acted “unilaterally.” See Biros’ Amended Exhibit I, Entry

1 Biros specifically asked for provisions about the property taxes, which U Lock did not oppose;
however, Biros never advised the Supreme Court of Pennsylvania that it already received the Order
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18 (denying ex parte or sua sponte Order, but calling the Order
unilateral after a call from Biros’ paralegal to the judge’s law clerk
occurred).

Also apparently on April 22, 2022, the judge in the state case
entertained a motion for possession, which does not appear to be a
usual procedure. This motion is not on the public docket. No notice
to creditors or to the tenants of U Lock occurred. No action in
ejectment was filed.

No creditors were invited to the April 22, 2022, hearing. At that
hearing, the court recognized that Petitioning Creditor had a judgment
lien and counsel for Biros explained that they acted the way they did
to avoid it. Notwithstanding that Petitioning Creditor was not present
at the hearing, and could not object, the judge complained that she
sued him, sued “the law” and could face prosecution by the Attorney
General of Pennsylvania. Id. The judge directed U Lock
representatives to “pass it on” to the Petitioning Creditor and repeat
the message. Id.

On April 25, 2022, to assure the ability to claw back the property
for the benefit of all creditors, not just Unsecured Creditor Biros, and
because U Lock is clearly insolvent, Petitioning Creditor filed the
instant petition for involuntary bankruptcy by placing it in the Court’s
mailbox. However, upon filing, the petition was not accepted, but was

placed throughout the Clerk’s office for pro se review and not
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ultimately filed until April 27, 2022.

Petitioning Creditor notified the secretary of the state court judge
of this case by personally handing her the Notice of Bankruptcy on
May 12, 2022. Petitioning Creditor also notified counsel for Biros.

Apparently, in response to the Notice of Bankruptcy, the judge
rendered a summary order that not only provided possession of U
Lock’s property to Biros, but also allowed her to levy on and sell all of
U Lock’s property to pay expenses and for cleanup, including
unknown environmental costs See Exhibit B. This preferential Order
harmed Petitioning Creditor because she maintains a judgment lien
and the judge knew it when he allowed Biros to sell all of U Lock’s
assets.

On May 20, 2022, despite knowing that a bankruptcy stay
existed, counsel for Biros appeared before the state court judge and
had a hearing. At that hearing, counsel suggested ways to avoid the
stay. The judge falsely stated he rendered his possession on April 22,
2022, so he did not violate the stay— but the Order was not signed
until May 13, 2022, and not docketed until May 17, 2022. Counsel for
Biros never asked the court to stop the hearing, but instead made
arguments and complaints about the Petitioning Creditor. At that
hearing the court also stated that it would attempt to strike Petitioning
Creditor’s appeal from the preferential order allowing Biros to levy and

sell the property because she had no standing. See Exhibit C.
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On the same day, Biros filed the omnibus motion to this Court
asking for myriad types of relief. Despite the complicated nature of
the property, and despite U Lock possessing it since 2015, it became
an “emergency” so that the creditors could not receive notice, U Lock
would be unable to act, and the Petitioning Creditor who is acting
without an attorney would be blindsided.

Petitioning Creditor objects and opposes the motion for the
reasons set forth below.

OBJECTION TO MOTION BEING CLASSIFIED AS AN EMERGENCY

Despite claiming that Alleged Debtor U Lock possessed the
property for five years, Biros suggests that this proceeding must be
heard as an emergency petition with little notice to Petitioning Creditor
and no notice to the other creditors. Petitioning Creditor objects on
due process and procedural grounds.

Petitioning Creditor maintains a properly filed judgment lien on
all of the debtor’s property, so she has standing. See Exhibit A. Itis
unclear whether the debtor owns the real property at 14140 U.S.
Route 30 or whether the Unsecured Creditor Biros maintains quit
claim type ownership effective January 25, 2022- after Petitioning
Creditor’s judgment. While it is true that the state judge, who most

likely had no jurisdiction because the case record was never remanded
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to him by the appellate court,” in late January 2022 entered what he
called a “unilateral” Order allowing Biros to file certain deeds.
However, this transfer — even though involuntary as to U Lock —
constitutes a preferential transfer to an insider® of the debtor and a
voidable transfer under Pennsylvania law. Petitioning Creditor
suggests that this Court, after clawing back the preferential and
voidable transfer, should ultimately sell the property and pay both
Unsecured Creditor Christine Biros, Petitioning Creditor, and all other
creditors rather than allow for an unjust enrichment in favor of
unsecured creditor Biros to occur.

Regardless of which party owns the property, Petitioning
Creditor maintains a judgment against U Lock’s assets. Despite
knowing of both Petitioning Creditors’ judgment lien and the
bankruptcy stay, the same judge granted Biros the right to levy and
sell all of the Debtor’s property to pay for expenses. See Exhibit B.
The pre-bankruptcy hearing occurred outside of and without notice to
Petitioning Creditor.

This complicated situation requires this Court to analyze a

complicated factual background. As the United States Court of

2 The judge had no jurisdiction and appears to have been mistaken when he claimed he did.
Compare Exhibit G, Pennsylvania Rule of Appellate Procedure 1701, and the judge stating he could
act “unilaterally” because he knew about the decisions even though the record was not remanded to
him.

3 Petitioning Creditor is filing an action to declare Biros an insider due to her heavy involvement in the
purchase of U Lock’s assets, her original planning and development of the company, her control over
the entity, and the fact that the entity is acting as her trustee. Petitioning Creditor’s adversary
proceeding will also seek a claw back and declaratory judgment that the judgment is superior to Biros’
unsecured claim.
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Appeals for the Third Circuit explained in In re Mansaray-Ruffin, 530
F.3d 230, 234-37 (3rd Cir. 2008), “Federal Rule of Bankruptcy
Procedure 7001 sets forth matters that may only be resolved through
an ‘adversary proceeding,’ including the determination of the ‘validity,
priority, or extent of a lien or other interest in property.’ Fed. R.
Bankr.P. 7001(2). An adversary proceeding is essentially a
self-contained trial—still within the original bankruptcy case—in
which a panoply of additional procedures apply. See Fed. R. Bankr.P.
7001-7087.

For this Court to determine ownership, disregard the potential
that the transfer may be voidable as a preference, and adjudicate all
that Movant Biros demands, is not an emergency proceeding— its an
adversary proceeding. In In re Smith, 514 B.R. 331, 338-39 (Bankr.
S.D. Ga. 2014), the court held “that the procedural safeguards
inherent in that rule should not be disregarded based on narrow
definitions of ‘validity’ adopted by many courts. The Due Process
Clause of the Fifth Amendment forbids the deprivation of a property
right without due process of law, and the adoption of a Rule of
Procedure by the judiciary constitutes the template for assessing due
process. .. . [A]ny challenge to the viability of a lien must be
considered within the confines of an adversary proceeding under the
Rules and as a matter of due process. ... [Plart of the purpose of Rule

7001 must certainly be to ensure that when the issue is the

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enforceability of a state created lien, the defendant is entitled to the
most infallible degree of notice of the nature and serious consequences
of the proceeding brought against it. The procedural safeguards of
adversary proceedings, including the Rules of Pleading of Bankruptcy
Rule 7008 which require a specific ‘demand for relief sought,’ are
calculated to achieve this purpose.”

There exists no emergency that this Court needs to render a
snap decision without a full and fair opportunity to litigate the
questions contained in the complicated motion that affects substantial
rights of all involved. Creditors must be notified. The debtor needs
time to prepare. Biros needs to file an adversary proceeding to
determine her ownership.

As to the environmental issues, these are the same issues that
Biros complained about in 2018. Nothing changed that requires this
Court to resolve the issue on such an accelerated schedule and
without full and fair notice to all creditors, tenants, and interested

parties, preferably after U Lock appears.

ARGUMENT

I. THE BANKRUPTCY SHOULD NOT BE DISMISSED

1. Petitioning Creditor is eligible to file an
involuntary petition

i. No bona fide dispute exists and the unsecured
creditor failed to demonstrate a dispute

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Biros presents a transcript of a case where counsel for the
Movant Biros improperly goaded a judge into making dicta-type
comments towards Petitioning Creditor knowing that she was nota
party and had no ability to respond. See Docket Entry 18, Biros’
Amended Exhibit I.

The Judge’s dicta and rhetoric, complaining of a lawsuit
Petitioning Creditor filed where the judge is a defendant, has no legal
weight and no creation of a dispute. Petitioning Creditor’s claim
against U Lock is based upon a federal judgment duly entered after
both Petitioning Creditor and the United States District Court for the
Western District of Pennsylvania provided U Lock with notice to attend
an in-person hearing. 28 USC 3201. Petitioning Creditor’s judgment
has priority. 28 USC 3201(b).

Petitioning Creditor filed and lodged the judgment with the Court
of Common Pleas of Westmoreland County. It has been on file,
unpaid, since December 2021. Snyder v. U Lock, 21 JU 04758
(Westmoreland County C.C.P.); see Exhibit A.

This Court must provide the federal judgment full faith and
credit. In re C. W Mining Co, 2009 WL 4798264, *5 (BAP 10th Cir)
("[A] federal district court judgment is entitled to full faith and credit in
a bankruptcy court, absent the most extraordinary-of

circumstances."). The general rule is that an unappealed, unstayed

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final judgment is not subject to a “bona fide dispute.” In re Raymark
Indus., Inc., 99 B.R. 298, 300 (Bankr.E.D.Pa.1989); In re Caucus
Distributors, Inc., 83 B.R. 921, 928-29 (Bankr.E.D.Va.1988); In re
Drexler, 56 B.R. 960 (Bankr.S.D.N.Y.1986).

Moreover, 28 USC 3201 explains that,” (A) A judgment in a civil
action shall create a lien on all real property of a judgment debtor on
filing a certified copy of the abstract of the judgment in the manner in
which a notice of tax lien would be filed under paragraphs (1) and (2)
of section 6323(f) of the Internal Revenue Code of 1986. A lien created
under this paragraph is for the amount necessary to satisfy the
judgment, including costs and interest.(b)Priority of Lien.—lien created
under subsection (a) shall have priority over any other lien or
encumbrance which is perfected later in time.”

Petitioning Creditor filed her Proof of Claim in this case. This
constitutes prima facie evidence of the validity and amount of the
claim. Fed. R. Bankr.P. 3001(f); In re: Zimmer, 623 B.R. 139 (Bank.
W.D.Pa. 2020), citing Juniper Dev. Group v. Kahn (In re Hemingway
Transp., Inc.), 993 F.2d 915, 925 (1st Cir.1993). In order to rebut this
prima facie evidence, the objecting party must produce “substantial
evidence.” United States v. Clifford (In re Clifford), 255 B.R. 258, 262
(D.Mass.2000).

Finally, Biros attempts to collaterally attack a federal judgment

by complaining of inadvertent omissions in Petitioning Creditor’s 2018

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bankruptcy. However, Biros was a creditor in that proceeding and did
not seek to reopen it as she could. Any omission on the 2018
bankruptcy schedule lacked materiality and would not warrant action
being taken. See In re: Daniel, 613 B.R. 374, 383 (Bank,. M.D. FI.
2020)(holding that a creditor objecting to discharge for omissions or
misstatements in schedules must show that they are material).

Petitioning Creditor simply did not know she had a cause of
action against U Lock until 2020. U Lock told the state judge that
Petitioning Creditor worked for “sisterly love.” At no time did the
Petitioning Creditor receive income from U Lock. U Lock did promise
Petitioning Creditor in 2020 that she would be paid minimum wage for
all the time she spent as they developed or sold the property, and U
Lock asked that payment be deferred. Petitioning Creditor provided
work and services for U Lock. The argument to the United States
District Court, which was accepted, constituted an assertion that,
indeed, Petitioning Creditor received no payment, but that she should
have received minimum wage as a matter of law. Sisterly love does
not apply to corporations.

Clearly, this does not rise to the level of a dispute. It may be a
basis to collaterally attack the 2018 bankruptcy decree, but not the
debt. Even if the period of 2016 through May 2018 is removed from

the judgment, it would still be over $10,000.*

4 Any omission of the potential claim against U Lock would most likely have been abandoned by the
trustee considering the unsecured debt exceeded several million dollars and the minimum wage owed

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ii. No status based prohibition on filing a
bankruptcy exists

Movant Biros asserts that, simply because Petitioning Creditor is
the sister of two of U Lock’s officers,° she constitutes an “insider” that
cannot bring an involuntary petition. Biros then misstates the
elements laid down in an often criticized case along with an
unpublished case that cites the criticized case. Specifically, Biros
cites In re Runaway II, 168 B.R. 193, 196 (W.D. Mo. 1994), but that
Court stated that employees, insiders and creditors receiving
avoidable preferences cannot file an involuntary bankruptcy.
Specifically, the court explained, "Thus, to file a petition under (b)(2), a
creditor must hold a claim that is not contingent, subject to a bona
fide dispute, nor be the claim of an employee, insider or transferee of
an avoidable transfer." Id. See also In re Kenval Mktg. Corp., 38 B.R.
241, 244 (Bankr. E.D. Pa.) ("[C]reditors....are precluded from
successfully filing if they hold voidable preferences."),
reconsideration denied, 40 B.R. 445 (Bankr. E.D. Pa. 1984).

Biros does not and cannot aver that Petitioning Creditor holds
an avoidable preference. On the contrary, it is Biros that received an

avoidable preference to the detriment of all of the creditors by using a

constituted a small amount in comparison. Biros is welcome to reopen the bankruptcy and challenge
—the-inadvertent omission.

5 U Lock is a corporation with nearly 1,000 shareholders. Petitioning Creditor owns no stock.
Petitioning Creditor did jobs for U Lock. In 2021, Petitioning Creditor learned that U Lock’s failure to
pay her constituted wage violations even though she was not receiving a salary, just a promise to
eventually receive compensation.

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constructive trust to prevent a public sheriff's sale of the property
where creditors receive notice, parties can bid, fair value for the
property can occur at the auction, and all parties have the opportunity
to receive their share.

Regardless, contrary to the minority of cases cited by Biros, most
courts interpret §303(b) to allow an insider, or an employee or
transferee, with which insiders are associated to file an involuntary
petition in cases involving 12 or less creditors. In Sipple v. Atwood (In
re Atwood), 124 B.R. 402, 405 n.2 (S.D. Ga. 1991), the court stated,
"Petitioning creditors...qualify [to file an involuntary petition] even if
their claim is voidable."). In In re Little Bldgs. Inc., 49 B.R. 889,
890-91 (Bankr. N.D. Ohio 1985), the court denied the debtor's motion
to dismiss involuntary petition filed by insiders. In In re United
Kitchen Assocs. Inc., 33 B.R. 214, 215 (Bankr. W.D. La. 1983), the
court held, "Under the plain meaning of 11 U.S.C. §303(b)(1) and (2),
employees of the debtor may be petitioning creditors for involuntary
bankruptcy of the debtor."

The Little Bldgs.court thoroughly reviewed the language of the
statute, and concomitantly, explained the basis for its decision. In
denying a motion to dismiss an involuntary petition filed by certain
officers, directors, employees or shareholders of the debtor, it found
that “the language of the section states, with mathematic-like

certainty, that the claims of insiders are excluded only from

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consideration in determining the number of an alleged debtor's
creditors." Little Bldgs., 49 B.R. at 890-91. "Insiders are still eligible to
initiate involuntary proceedings against the entity they are or were
associated with." Id. at 891. Other courts have similarly held that the
status of the creditor constitutes a consideration for mathematical
purposes, not for eligibility. See In the Matter of Skye Marketing Corp.
11 B.R. 891 (E.D. N.Y. 1981).

Indeed, in In re Kitchen Assocs. Inc., 33 B.R. 214, 215
(Bankr.W.D.La.1983), the court held, “Under the plain meaning of 11
U.S.C. § 303(b)(1) and (2), employees of the debtor may be petitioning
creditors for involuntary bankruptcy of the debtor.” In In re Hopkins,
177 B.R. 1 (Bankr.D.Me.1995), the court allowed former spouses and
their children to be petitioning creditors.

Collier's also supports the Little Bldgs. rationale that “[a]lthough
insiders are not counted as holders of claims for purposes of
establishing the numerosity requirement in Section 303(b), these
individuals can be petitioning creditors if they satisfy the other
requirements.” Collier on Bankruptcy J 303.03[2](c)(iv), at page 303-36
(15th ed. rev.). Collier takes the same position with respect to creditors
who have received voidable transfers. Id. at | 303.03[2](c)(v), page
303-36-37.

The history of bankruptcy makes it clear that an insider would

be an acceptable petitioner. 11 USC §303(b) contains a specific

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subpart authorizing the filing of an involuntary petition against a
partnership by its general partners, i.e., insiders. See 11 U.S.C.
§303(b)(3); 11 U.S.C. §101(31)(C)(i) (defining general partner in debtor
as insider where debtor is partnership). If Congress wished to disallow
to allow all insiders, including corporate insiders, to file an involuntary
petition, Congress could have easily included language to that effect in
§303.

As noted in Little Bldgs., the exclusionary language in §303(b)(2)
should be interpreted to apply for counting the number of creditors.
Historically, courts have held that the language does not disquality
any type of creditor. In JuJ.S. Co. v. Sacks (In re J.JS.S. Co.), 445 F.2d
138, 139 (7th Cir. 1971), the Seventh Circuit held, "While 11 U.S.C.A.
g95(e)...excludes shareholders, officers and directors in the
computation of the number of creditors of a bankrupt for the purposes
of determining how many creditors must join in the petition, it does
not serve to disqualify an officer, director or shareholder as a
petitioning creditor."); see also Winkleman v. Ogami, 123 F.2d 78, 80

(9th Cir. 1941).

2. Petitioning Creditor filed the Involuntary Petition
in good faith

Biros argues that Petitioning Creditor filed the petition in bad
faith and that the petition should be dismissed on this basis. She

states that this filing was to stop the dispossession by U Lock. On the

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contrary, the filing was to create an estate for all creditors, to claw
back the voidable transfer, and to have the property sold in order for
Biros, Petitioning Creditor, and all creditors to be paid in full from the
sale of the assets of U Lock.

Petitioning Credit clearly met the statutory requirements for
filing the petition. She maintains an unpaid judgment lien for over
$262,000 and, certainly, Biros would even agree that U Lock is not
paying its bills.

Furthermore, the Petitioning Creditor conducted research before
filing the case and knew the facts. She saw her 28 USC 3201
judgment lien being usurped and bypassed deliberately by Biros in a
proceeding she could not take part in. No

Petitioning Creditor saw the property being transferred to an
unsecured creditor without a Sheriff’s sale through a constructive
trust, which clearly dissipated U Lock’s assets, and protected no other
creditors or tenants.

Finally, Petitioning Creditor saw dangerous threats by Biros to
impound all of the property of U Lock’s storage customers and provide
thirty-days for those paid-up customers to receive their things, making
it more likely that U Lock would be subject to more debt and never pay
the judgment. See Biros Amended Exhibit I (discussing locking the
storage facility and notifying tenants by mail to retrieve their items).

Certainly the Petitioning Creditor chose to assert her rights, and

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it appears quite obvious why. The Order at Exhibit B, entered in
retaliation for the bankruptcy stay, and in deliberate defiance of the
stay, actually allows Biros to sell everything U Lock owns to pay for
removal of garbage, cars, and environmental damage that existed at
the time the property was purchased. The property that Biros is
allowed to levy and sell is not itemized. The costs for environmental
damage have not been set by any court.

More importantly, it cannot be said that the Petitioning Creditor
used this proceeding as a tactical advantage in a pending action. On
the contrary, the Petitioning Creditor did not participate in the action,
received no notice of the case that Biros speaks of, and was nota
party to the proceeding. As the judge stated on May 20, 2022, at his
unlawful hearing, Petitioning Creditor has no standing in that case.
See Exhibit C; but see Entry 18, Biros’ Amended Exhibit I (mentioning
that perhaps Petitioning Creditor could take part or intervene).

Biros cites a 2013 case that resulted in no judicial findings and
constituted a compromise settlement to show “bad faith.” This
compromise settlement has no relevance here. Petitioning Creditor
and Robert Biros, the father of Christine Biros, consented to a
resolution of a dispute without the necessity of a judicial decision.
This Court did not find bad faith or render any adjudication. In that
case, issues arose because Biros chose to rent his property with no

lease. The reason the same parties are now before this Court is

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because the Biros family chooses to continue to conduct business
without written documentation. Specifically, Christine Biros provided
an unsecured loan so U Lock could buy a property without any
binding documentation and then resorted to a rarely used form of

action to obtain the property without notice to other parties.

a. There exists no basis for sanctions

Ordinarily, in an involuntary bankruptcy, the Alleged Debtor
may seek sanctions if a bankruptcy is dismissed. Here, a competing
creditor, Biros, who seeks to protect her improper voidable preference,
is seeking sanctions. As explained above, the debtor clearly lacks
solvency. The Petitioning Creditor maintains a judgment enforceable
pursuant to 28 USC 3201. She Becausfiled her case with a proper
purpose. Sanctions are inappropriate and the demand for $20,000
constitutes just more intimidation against people who oppose their
position. As shown by the hearing transcripts, Biros is seeking
sanctions of $20,000 against U Lock for raising a defense about Biros’
arrest. This is Biros’ magic number to ask for if one challenges them
or litigates a legal position. Petitioning Creditor will not allow Biros’
threats of sanctions to persuade abandonment when the 28 USC

3201(b) judgment lien provides Petitioning Creditor’s lien superiority

but a strategic plan to try to deter the prosecution of claims.

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Ill. THE AUTOMATIC STAY IS APPLICABLE AND NO RELIEF
FROM THE STAY SHOULD BE PERMITTED, ESPECIALLY
NUNC PRO TUNC RELIEF
a. Biros deliberately violated the bankruptcy stay
Biros seeks to annul the automatic stay. “This relief is quite
extraordinary because it is retroactive, and, therefore, parties who
secure such relief will have their previous actions, which may have
violated the automatic stay at the time, validated after the fact.
Annulling the stay is thus inconsistent with the notion that all debtors
who seek the protection of bankruptcy in good faith are entitled to the
‘breathing spell’ created by the automatic stay. Such extraordinary
relief should therefore not be commonly available. If it were otherwise,
the careful balance of benefits and burdens built into the Bankruptcy
Code by Congress would be thrown off kilter”. See In re Siciliano, 167
B.R. 999, 1007 (Bank. E.D. Pa. 1994).

With few exceptions, most courts acknowledged that annulling
the stay is only appropriate in the rarest of circumstances. See, e.g., In
re Shamblin, 890 F.2d 123, 126 (9th Cir.1989) (“Any equitable
exception to the automatic stay [such as annulling the stay] should be
narrow and applied only in extreme circumstances.”); Albany Partners,
supra, 749 F.2d at 675 (“[T]he important congressional policy behind

the automatic stay demands that courts be especially hesitant to

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validate acts committed during the pendency of the stay.”); Scrima v.
John Devries Agency, Inc., 103 B.R. 128, 135 (W.D.Mich. 1989)
(‘annulment of an automatic stay is a radical form of relief”); In re
Jewett, 146 B.R. 250, 252 (Bankr. 9th Cir.1992) (“Any such equitable
exception to the automatic stay [Ze., annulling the stay] should be
narrow and applied only in limited circumstances.”); In re
Barker-Fowler Electric Co., 141 B.R. 929, 936 (Bankr.W.D.Mich.1992)
(‘Annulment of the stay is an equitable remedy and should be applied
only in extreme or extraordinary circumstances.”); In re Williams, 124
B.R. 311, 316 (Bankr.C.D.Cal, 1991) (“The power to annul the stay
must ... be exercised sparingly.”); and In re Schewe, 94 B.R. 938, 951
(Bankr.W.D.Mich.1989) (“Retroactive relief from the automatic stay
may be ordered by a bankruptcy court in appropriate limited
circumstances.”).

In In re Boston Business Machines, 87 B.R. 867, 871
(Bankr.E.D.Pa.1988), the court stated that annulling the stay is only
appropriate in “a small category of situations.”

However, in this case, Biros deliberately violated the stay. Prior
to the state court’s Order of May 13, 2022, purportedly awarding
possession and allowing Biros to sell all of U Lock’s property without
judicial oversight, Petitioning Creditor notified both Biros and the
Court of Common Pleas judge of the automatic stay in this case. The

Supreme Court of Pennsylvania, which continued to have jurisdiction

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over the underlying case, recognized the stay immediately. See
Exhibit D (docket sheet recognizing stay). After it received the void ab
initio Order for possession — obtained without even filing a lawsuit or
notifying the tenants — Biros continued prosecuting U Lock in state
court. On May 20, 2022, Biros proceeded at a hearing and attempted
to convince the state judge that he could proceed as well, even asking
the judge to issue an Order that could help in the bankruptcy. See
Exhibit C.

Biros knew that her actions violated the bankruptcy stay and
acted in bad faith, yet now she asks this Court to equitably annul the
stay. This is different from a case where an inadvertent or technical
violation of the stay occurred. Just like calling her motion an
emergency motion to obtain a snap decision, Biros’ actions in the state
court are similarly on par. As an example, in In re: Stancil, 487 B.R.
331, 341 (Bankr. D.C. 2013), the court explained, “even if [the
bankruptcy] filing was in bad faith, the court will not sanction a willful
violation of the automatic stay by annulling the stay. Any bad faith on
[debtor’s] part is outweighed by the mortgagee's knowing violation of
the automatic stay.” Therefore, this Court should not entertain an
annulment or relief from the automatic stay until all equity, lien, claw

back, and other issues as to the property are settled.

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b. U Lock’s interest in the property, its business, and
subleases.

As to U Lock’s interest in possessing the property, this Court in
In re: Flabeg Solar US Corp., 499 B.R. 47570, Collier Bankr.Cas.2d
795 (Bank.W.D.Pa. 2013), explained, “ It is undisputed that the Debtor
had (and continues to have) at least possession of the Property at the
time this bankruptcy case commenced. Therefore, under the line of
cases holding that mere possession is sufficient to invoke the
protection of the automatic stay, the stay applies. Furthermore, this
Court holds that a possessory interest, without any accompanying
legal or contractual interest, is sufficient to invoke the application of
the automatic stay.” Flabeg Solar based its decision on In Atlantic
Business and Community Corporation, 901 F.2d 325 (3rd Cir. 1997),
the Third Circuit Court of Appeals, citing In re: 48th Street
Steakhouse, 835 F.2d 427 (2nd Cir. 1987), stated, “We join with the
Court of Appeals for the Second Circuit in holding that a possessory
interest in real property is within the ambit of the estate in
bankruptcy under Section 541, and thus the protection of the
automatic stay of Section 362.” Id at 328. In Atlantic Business, the
Third Circuit affirmed the decision of the district court in holding that
a tenancy at sufferance created a property interest protected by the
automatic stay. Id. Although the facts presented in Atlantic Business

are distinguishable, the Third Circuit cited approvingly to 48th Street,

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and likewise held that “[t}]he language of Section 362 makes clear that
mere possession of property at the time of filing is sufficient to invoke
the protections of the automatic stay.” 901 F.2d at 328 (emphasis
added).

Furthermore, it appears that U Lock or the trustee may have a
right to claw back the deed from January 2022. Pennsylvania’s law
relating to voidable preferences allows a four year time to demonstrate
that an action preferred a single creditor- even when the transfer
constituted an involuntary transfer. Bankruptcy law allows for one
year when a creditor— such as Biros — yielded considerable influence,
and ninety (90) days regardless of the circumstances. Petitioning
Creditor certainly has an interest in the property with her perfected
judgment lien on it before the preferential transfer to Biros in January
2022.

Regardless, the deeds filed in January 2022,which were neither
signed by a judge nor had their language reviewed, directly conflicts
with both the original decision of the Court of Common Pleas and the
Superior Court of Pennsylvania which stated that the corrective deeds
indeed made U Lock the owner of the property. There are two
competing deeds on file with the Westmoreland County Recorder of
Deeds. The Recorder did not make notations prioritizing one or the
other.

Considering this, the unilateral filing of non-judicial deeds— not

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signed by a judge, that claims the original deeds were void directly
conflicts with the decisions. As explained above, both the common
pleas court and the Superior Court of Pennsylvania found that the
2018 deeds transferred ownership to Biros.

Moreover, U Lock made an argument to the state court that no
mandate ever came from the Superior Court because of a stay by the
Supreme Court rendering the actions of the state court to be without
jurisdiction. See Pa.R.A.P. 1701. It is understood that U Lock took
appeals from both the January 2022 Order and the void May 13,
2022, Order for possession challenging the jurisdiction of the state
court. The petitioning creditor took an appeal as well because of the
portions of the Order that allow Biros to sell U Lock’s other property
and use it to offset her costs. These appeals should be stayed because
this Court will need to take the property, determine ownership and
lien priority, sell it, and compensate all the creditors.

Finally, U Lock maintains leases to many third-party property
storage customers. Counsel for Biros stated at the April 2022 hearing
that, “They raised the issue of the tenants, it is a series of lockers and
storage sites. We have no problem whatsoever, Your Honor. We will
blockade the site then if they will give us lists of their clients we will
send out notice letters to them telling them to come and pick up their
stuff. If people do not come we will advertise for it. At the end of that

”

we will do what we are entitled to do with unclaimed property.” See

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Entry 18, Biros’ Amended Exhibit I. This procedure will subject U
Lock to more liability considering that these customers may have
prepaid for their tenancy- yet they were provided no orderly notice

from the state court or opportunity to participate.

For this reason, the stay cannot be lifted at this time.

c. Biros’ request for possession and to sell all found U Lock
property

In the state court action, tenants and creditors were not invited
to participate. Despite knowing a stay existed, the Common Pleas
Court rendered an Order not only allowing possession, but also

levving all of U Lock’s non-real property and allowing it to be sold by

Biros to cover the expenses of removing items. See Exhibit B (“Such
writ will authorize levy and sale of any property of Defendant U Lock
to satisfy (a) the costs of the levy; (b) any unpaid property taxes; and
(c) the costs of removal of rubbish, trash, used cars and any other
environmental hazard located on the property).” This goes far beyond
any simple possession of property issue, but allows a single, preferred
creditor, to take everything U Lock owns and sell it to cover
non-itemized and unclear expenses.

However, in Pennsylvania, you must file an action for ejectment,
not a quick motion without notice to the public, the tenants, or the
other creditors. Ejectment is an action filed by a plaintiff who does

not possess the land but has a right to possess it, against a defendant

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who has actual possession.” Siskos v. Britz, 567 Pa. 689, 790 A.2d
1000, 1006 (2002); see also Soffer v. Beech, 487 Pa. 255, 409 A.2d
337 (1979). “ Ejectment is a possessory action only, and can succeed
only if the plaintiff is out of possession, and [the plaintiff] has a
present right to immediate possession.’” Siskos, 790 A.2d at 1006
(quoting Brennan v. Shore Bros., 380 Pa. 283, 110 A.2d 401, 402
(1955) .

It does not appear that Biros sought ejectment in her lawsuit
against U Lock. She never averred that her deed was superior. She
did not notify the tenants. Instead, Biros filed a motion and the judge
granted it when he learned of this bankruptcy despite having
cancelled the hearing due to the automatic stay. Certainly, Biros’
request that she can just sell everything U Lock owns to pay for her
expenses defies logic and is unheard of- especially where the
environmental problems came with the property, not from U Lock.

d. Possession affects U Lock’s leases and exposes it to liability

U Lock is a storage facility with active tenants— tenants that
prepaid. Providing Biros with possession, when it never served the
tenants, will necessarily bring additional claims against debtor,
harming the estate. The tenants, who maintain leases, maintain a
right to be told they are being moved and their property impounded by
Biros. This Court cannot allow this type of “plan” by Biros to move

forward. Moreover, the leases it rendered constitute property of the

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estate and must be disposed of, abandoned, or otherwise resolved
before Biros can violate them and simply evict tenants.
e. 11 USC 362(b)(10) does not apply.

Biros recognizes that 11 USC 362(b)(10) does not specifically
apply, but attempts to convince this Court to expand it to this
situation. Section 362(b)(1) addressed a problem where a lease
terminated and enterprises filed bankruptcy simply to prolong the
lease. In this case, there exists no lease. Rather, there is a dispute as
to ownership and whether a voidable transfer occurred. U Lock, if
placed in bankruptcy, can claw back the transfer, sell the property,
and pay all of the creditors. This is the required result where a
multi-million dollar property is being hijacked by a single creditor with
a $350,000 unsecured claim.

If Congress desired to eliminate the automatic stay for properties
in situations like the present one, when it enacted 11 USC 362(b)(10),
it could have included language. This Court cannot expand the
statute where there exists no Congressional intent.

IV. THERE CAN BE NO ABANDONMENT PROPERTY AT THIS
JUNCTURE

It appears unclear what property Biros demands this Court to
abandon. She does not itemize the possessions U Lock maintained in
the storage sheds. Nevertheless, she asks this-Court-to abandon the

unknown items so she can sell them pursuant to the void state court

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order. Biros also appears to desire that this Court abandon the real
property without this Court evaluating the value thereof despite the
fact that a fair sale of the property could pay all of the creditors,
including Biros. This is why Biros fights so hard—because she desires
an unjust enrichment and to obtain a multi-million dollar property for
a few hundred thousand dollars without regard to the other creditors.

Biros cites no case law to suggest that a creditor can seek to
abandon property of an estate before a trustee is even appointed. In
In re: Wideman, 84 B.R. 9718 Collier Bankr.Cas.2d 650 (Bank. W.D.
Tx. 1988), the Court explained that, while a creditor can move to
compel a trustee to abandon property, it must be done after full notice
and a hearing with all creditors receiving notice. In Wideman, the
Court specifically found that the creditors received inadequate notice,
as here.

Regardless, there can be no basis for this Court to abandon all of
U Lock’s property — including possessions not itemized and a high
value property worth more than Biros’ unsecured claim.

As to the environmental problems, they have existed prior to the
purchase of the property. The property in question can be sold for
well more than the debts of the estate. Therefore, there is no basis to

abandon the property.

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V. Conclusion
Based on the above, the motion filed by unsecured creditor

Christine Biros should be denied.

DECLARATION OF SHANNI SNYDER

The above facts as stated are true and correct to the best of my
knowledge, information, and belief. I filed the bankruptcy against U
Lock in good faith because I believed that U Lock is not paying its bills
as they become due, its assets are being conveyed to a single creditor
without notice of participation to the other creditors, and that I hold
an undisputed debt in excess of $10,000 with less than 12 other
unsecured, non-insider creditors. I did not include my potential claim
against U Lock on my 2018 bankruptcy petition because I did not fully
understand that they owed me money for doing work. I was not
receiving any compensation from U Lock and I did not receive a salary.
I made it clear to the federal judge that they did not pay me anything.
I did not begin to research my labor rights until 2020 when U Lock
informed me that I would never receive a position with the Company,
that its property was being given to Christine Biros, etc. My research
of the Fair Labor Standards Act occurred after my bankruptcy and I
learned that I could take action for the work I did even if U Lock said I
did it for “sisterly love” or contingent upon their profitability. This is
why it was not included in my schedules. Even if the time prior to
May 2018 was removed from my judgment, it would still exceed
$10,000. I declare under the penalty for perjury that the foregoing is
true and correct to the best of my knowledge, information, and belief.
28 USC 1746.

Respectfully submitted

hanni Snyder
14390 Route 30

North Huntingdon PA 15642
shannis@pm.me

(412) 218-1750

PETITIONING CREDITOR

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CERTIFICATE OF FILING AND SERVICE

I, Shanni Snyder, certify that all participants to this case have
joined the Court’s Electronic Case Filing Service and will receive a
copy of this document and the attached exhibits through that system
and notification when the document is filed.

In addition, I certify that I filed this document on May 31, 2022,
by depositing with the Clerk of Court’s filing box.

I

-Shanni —— <

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Nowe GASB of QOL

Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the

manner in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C. § 6323(f), creates a lien on

all real property of the defendant(s) and has priority over all other liens or encumbrances which are perfected later in
time. The lien created by this section is effective, unless satisfied, for a period of 20 years and may be renewed by filing

a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period to prevent the expiration

of the lien and the court approves the renewal, the lien shall relate back to the date the judgment is filed.

Names and Addresses of Parties against Names of Parties in whose favor judgments have been

whom judgments have been obtained ordered

U LOCK INC. also known as SHANNI SNYDER
U-LOCK INC. 14390 Route 30
14140 Route 30

North Huntingdon, PA 1 5642
North Huntingdon PA 15642

DOB(if available): -- Docket No. 2:21-cv-00904
Drivers Licence (if available): ---
Date Judgment
Amount of Judgment Entered on Docket
$262,702.00 plus post-judgment interest October 18, 2021
$402 costs
Credits:

none

UNITED STATES OF AMERICA
NITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA

= IN2\ DEC 15 ANG 10

I CERTIFY, That the foregoing is a correct Abstract of the Judgment entered or registered by this Court.

Dated: 12/14/2021
Joshua C, Lewis, Clerk

By Karen Sawdy , Deputy Clerk

EXHIBIT A

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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA
CIVIL ACTION —- LAW

SHANNI SNYDER

Plaintiff

Ys. Case No. .21JU04758

U LOCK INC a/k/a
U-LOCK INC

Defendant

NOTICE OF THE ENTRY OF JUDGMENT on the 15TH day of DECEMERBR,
2021 in the amount of $262,702.00 in the above captioned action.

Lhe Kbps
Prothonotary

THIS IS A NOTICE ONLY!

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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA CIVIL DIVISION

CHRISTINE BIROS, an individual, CIVIL DIVISION

Plaintiff, No. 17€J04886
vs.
ORDER OF COURT
U LOCK, INC., a Pennsylvania mm 23
corporation, . B Rd
ch of an
= £ S5le
Defendant, ay = Day
Zo — BG
mo oS Bem
ORDER OF COURT — 520
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it fh, Se
AND NOW, this day of S4/PY_s , 202%, itgphereby
ORDERED and DECREED that: J

1. The Prothonotary of Westmoreland County is directed to issue a Writ of

Possession to the Sheriff of Westmoreland County for property situate at 14140 Route 30, North

Huntingdon, PA 15642, with a Tax Map No. 54-03-10-0-10 (the “Property”) against Defendant
U Lock, Inc. and in favor of Plaintiff Christine Biros.

2. Such Writ will authorize levy and sale of any property of Defendant U Lock to

satisfy (a) the costs of the levy; (b) any unpaid property taxes; and (c) the costs of removal of

rubbish, trash, used cars and any other environmental hazard located on the Property.

3. Defendant U Lock within five (5) days will comply with the Order of the

Pennsylvania Supreme Court to pay all due and unpaid real estate taxes on the Property.

GINA O’BARTO
PROTHONOTARY

Qh. Obntee- to

EXHIBIT B
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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA.
CIVIL ACTION — LAW

CHRISTINE BIROS, an individual, Case No. X 4886 OF 2017.
Plaintifi(s) WRIT OF POSSESSION
Vs.

U LOCK, INC., a Pennsylvania corporation,
Defendant(s)

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF WESTMORELAND

TO THE SHERIFF OF WESTMORELAND COUNTY:

To satisfy the judgment for possession in the above matter you are directed to deliver
possession of the following described property to CHRISTINE BIROS, an individual,

14140 Route 30, North Huntingdon, PA 15642, with a Tax Map No. 54-03-10-0-10
(2) To satisfy the costs against U LOCK, INC., a Pennsylvania corporation you are

directed to levy upon any property of U LOCK, INC., a Pennsylvania corporation and
sell (his, her, their, its) interest therein.

“fy
Date: May 13, 2022 Ane O Panto

Prothonotary

LAW FIRM OF WILLIAM E. OTTO
WILLIAM OTTO, ESQUIRE

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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA.
CIVIL DIVISION

kk *
CHRISTINE BIROS, ) No. 4886 of 2017
)
Plaintiff, )
)
vs. )
)
U LOCK, INC., )
)
Defendant. )
kk *

HEARD: Friday, May 20, 2022
BEFORE: The Honorable Harry F. Smail, Jr., Judge

xk k *

TRANSCRIPT OF MOTION TO AMEND THE RECORD
AND MOTION FOR SANCTIONS

xk kK Ok

APPEARANCES:
On behalf of the Plaintiff:
WILLIAM E. OTTO, ESQ.

On behalf of the Defendant:
ALAN ROTH, ESQ.

EXHIBIT C
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FRIDAY, MAY 20, 2022 - 9:49 A.M.
PROCEEDINGS
kk *

THE COURT: Call the case of Christine Biros,
plaintiff, versus U Lock, Inc. as defendant. Case
number 4886 of 2017.

Will counsel please enter their appearance
for the record.

MR. OTTO: Your Honor, I'm William Otto
representing Christine Biros.

MR. ROTH: Alan Roth on behalf of U Lock.

THE COURT: Let's first talk. The Court is
indicating at this particular number, and the Court
notes that all appellate rights at this particular
number, 4886 of 2017, have been exhausted, that the
Court received from a nonparty who has no involvement in
the underlying Common Pleas case, nor the Superior Court
case, nor the allowance for appeal to the PA Supreme
Court case, nor the deferential treatment by the Supreme
Court of Pennsylvania for consideration of the Supreme
Court of the United States any interest at all filing a
notice of appeal at this number.

The Court did receive what is noticed as a
notice of appeal, but there's no standing.

Mr. Otto, if you'd like to address that.

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MR. OTTO: Your Honor, my only comment is,
first of all, that under Rule 2329(3), you have the
discretion to deny any request for intervention. The
entry of appearance was filed using a form from family
court. Wasn't even the normal petition for leave to
intervene.

So, I see no reason why this shouldn't be
stricken from the docket.

THE COURT: Okay. Do you want to make any
comment on this Shanni Snyder notice of appeal?

MR. ROTH: No comments.

THE COURT: Do you stand opposed to the oral
motion to strike it from the docket?

MR. ROTH: I have no position on that.

THE COURT: That's fine. That's all I'm
asking. You don't have to take a position. You can
simply say no --

MR. ROTH: No position.

THE COURT: You're not involved in that.
Let's get back to Mr. Roth. I gave you a pretty
thorough set of instructions relative to the caption.
Did you do anything to correct it?

MR. ROTH: Yes, Your Honor. I brought it to
your office three days ago. I think it's waiting for

your signature to do what you asked to have done.

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THE COURT: Let me see here. I got a notice
for bankruptcy. Then I got your response to the
objections, filed. I have a letter of May 18th from
Mr. Otto. So this is the U Lock motion to correct
and/or strike the erroneous caption, correct?

MR. ROTH: Yes.

THE COURT: Did you see that, Mr. Otto?

MR. OTTO: I did. Given, Your Honor, it
looks like it was filed yesterday in the Prothonotary's
office, it should have been done several weeks ago.

THE COURT: Right.

MR. ROTH: It was delivered to your office,
Your Honor, about three days ago. However, if I could
suggest to the Court --

THE COURT: My understanding is we were here,
I think, end of April.

MR. OTTO: 22nd of April, Your Honor.

THE COURT: 22nd of April. What took a
month?

MR. ROTH: Well, what it was, I was diagnosed
with cancer, and that cancer was very far along. That
interrupted everything I was doing. I was doing all
kinds of testing and things. That's why it took that
long to get it done.

THE COURT: Mr. Otto, did you get an

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opportunity to review the Order of Court attached to his
motion and do you have any objection to it?

MR. OTTO: Your Honor, I just --

THE COURT: As far as the wording is all
I'm --

MR. OTTO: I saw that you have already
changed it on your order on the 13th. Based on that,
Your Honor, I didn't look at it any further.

With all due respect to Mr. Roth's action, I
think your order on the 13th of May takes care of the
issue.

THE COURT: I'll grant in part and deny in
part basically and refer to the order back to the May
13th sui sponte order that I issued.

MR. ROTH: Yes.

THE COURT: That issue is completed then. We
are here today. Mr. Otto, for the record's sake, would
you like to address your May 18th, 2022, correspondence
just so that we establish it on the record?

MR. OTTO: Yes. First of all, as Your Honor
is aware, there's been an involuntary Chapter 7
bankruptcy filing against U Lock. And under the federal
bankruptcy code, an automatic stay goes into effect.

So, the purpose of this presentation this

morning, Your Honor, I want to make very clear has

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nothing to do with U Lock specifically. I'm not asking
for you to rule on anything related to U Lock
specifically.

But the motion that I submitted to you
previously for sanctions included request for sanctions
against both Mr. Roth as well as George and Cash Snyder.
I would like you to consider those.

Just to point out a couple of things related
to our previous hearing, Your Honor. At that hearing,
Mr. George Snyder agreed to provide information related
to old cars that were on the site. He agreed that he
would provide the name of the police officer that he
spoke to, as well as copies of various releases he
claims he had from car owners. That was to be delivered
on the Tuesday following the April 22nd hearing.

I have not received anything from either
Mr. Roth -- and I wouldn't expect to receive it directly
from Mr. Snyder, but I didn't receive anything from
Mr. Roth.

Second, Mr. Snyder said the taxes would be
paid on the property. They have not been paid. I don't
expect them to get paid now because that is an
obligation of U Lock, and it's certainly stayed by the
bankruptcy petition.

But I believe that goes to the fact that

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there have been no commitments made by the principals of
U Lock which have been kept, and, of course, the last
item is the estate release. It had to be executed, and
that required your action. Otherwise, it wouldn't have
been done until the last couple of days.

With that in mind, if you look at the motion
that I filed or the information that I filed to
supplement your request, there is a summary that shows a
number of invoices for -- that came after or —- on or
after November 2019.

Mr. Roth made the point that he believes any
actions of his prior to the date of his bankruptcy
petition would have been discharged. Regardless of
whether that's right or not, a substantial amount of
what we have complained about took place after that
date.

You may not recall, Your Honor, but in
November we began hearings on his post-trial motions.
And subsequent to that he filed appeals in the Superior
Court and a Petition for Leave to Appeal to the Supreme
Court. And at every step, he again raised the issue of
my client's source of funds.

So I believe the motion is still relevant.
Even if you exclude the invoices for matters prior to

November, it still runs around 8 to $9,000, which

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whether that amount would be collectible is up in the
air, Your Honor. But at least --

THE COURT: Well, your motion suggests or
your supplemental -—- I want to call it right. Your .
evidence in support that was filed supports $14,280, but
your request for sanctions is $20,000.

MR. OTTO: Yes.

THE COURT: So we have $5,720 that are not
established. Your request for that is for damages you
felt your client sustained because of the malfeasance or
behaviors on the other side of the case. I have to
consider what actual damages are.

And if you follow the precedent law, unless
there's some evidentiary presentation of actual damages
sustained as a result of even misuse of freedom of
speech to the defamatory effect of somebody's
reputation, you would have to represent or present
evidence in support of it, even if it's not the full
request, but enough to establish that I can take actions
on established damages.

Do you have that to present today?

MR. OTTO: May I speak with my client?

THE COURT: Sure.

(Indulgence)

MR. OTTO: Your Honor, I'm not sure we can

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quantify anything. With that in mind .

THE COURT: That was a concern of mine,
obviously for the balance of the demand or request.
Because if there's not quantification, I'm precluded by
precedent law as to what remedies I can make available
within an Order of Court because I don't want to create
an automatic additional appellate issue.

MR. OTTO: I understand, Your Honor.

THE COURT: Mr. Roth, obviously at this point
in time there's a Chapter 7 bankruptcy that you served
me a notice on relative to U Lock, Inc. Now there's a
question of whether or not the sanctions can be imposed
upon George and Cash Snyder, joint and severally, that
are not necessarily protected by the bankruptcy
pleading.

So, do you want to respond to that?

MR. ROTH: Well, Your Honor, we believe that
the bankruptcy pleading stays all activity in this case,
because the case does involve U Lock, and we believe the
stay -- and I actually have a copy of the section that
grants the stay right here if you want to see that.

THE COURT: If you want to bring that up,

I'd be happy to. I want to touch base on one thing.
You gave me a Rule of Civil Procedure rule.

MR. OTTO: 2329(3.

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THE COURT: That'll save my law clerk time to
look it up.

MR. ROTH: I believe that the automatic stay
stays all proceedings in this case because U Lock is an
active participant in the case. Therefore, we don't
believe that anything should be happening today with
regard to these issues.

Once the bankruptcy is resolved, then we can
come back and revisit these issues then if we need to do
that. And I believe that's how it should happen.

THE COURT: How does your bankruptcy
petition, though, in any way void my prior orders for
the receipt of deeds and possession of the property
since they were prior to the filing of the bankruptcy?

MR. ROTH: Well, first of all, we did not
file the bankruptcy. Shanni Snyder filed the
bankruptcy.

THE COURT: No. She filed a suggestion for
bankruptcy, and then apparently somebody received --
acknowledged it.

MR. ROTH: Well, what happened is --

THE COURT: My question is, how does she have
standing other than the liquidated damages to the labor
and wage case that she had in the federal court against

U Lock where she doubled her damages because of the

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liquidation claim, which I'm aware of to suggest
bankruptcy based on those claims, but how does that
relate back to Shanni Snyder's claims as to the
property, the possession thereof and ownership that
we've already established after the exhaustion of appeal
back to Christine Biros?

MR. ROTH: Well, the bankruptcy -- the
bankruptcy is an involuntarily bankruptcy.

THE COURT: I understand that. But it's
filed by a nonparty.

MR. ROTH: Yes.

THE COURT: As to the relationship of this
case number Christine Biros versus U Lock, Inc., Shanni
Snyder's claims are based from a federal lawsuit under
labor and wage which was defaulted, which kicks in then
the automatic doubling of the damages and liquidated
damages which Judge Colville entered.

So, she has the suggestion of bankruptcy for
U Lock relative to that claim and what they have. But
if properties have already been deeded, transferred and
then are simply up for possession prior to that
bankruptcy being filed, which is the case here, what's
your position on that?

To be quite honest, you're asking us to stay

this automatically for related claims that have nothing

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to do with Christine Biros, but they do relate to
U Lock, Incorporated.

MR. ROTH: Well, because of the automatic
stay, which you have in front of you, that stays all
proceedings against U Lock. It stays all proceedings.

THE COURT: Okay. And I'll grant you that.
Let's say it stays it from the date it was filed before
the U.S. Bankruptcy Court, which is April 28th, 2022. I
issued orders before that granting the deeds to
Christine Biros and the properties to her prior to the
bankruptcy. So the automatic stay doesn't protect that.

MR. ROTH: I'm not saying that it does. I
understand what you're saying.

THE COURT: So she can continue to move for
possession of her properties that she owns by deed,
because that's prior to the bankruptcy. That's not a
protected field under the automatic stay, because the
claim was made after the events that transpired and
after the exhaustion of the appeals through the state
system and your allowance for consideration to enter
into the federal system. And you didn't do it.

MR. ROTH: I believe that the stay covers any
of these proceedings today. I believe that that's what
the stay does.

THE COURT: But you don't have an Order of

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Court that tells me it does. You just have the U.S.
Code Title 11 Subsection 362. But that doesn't stay
prior events before the date of the bankruptcy
proceeding. Or the filing thereof.

MR. ROTH: It stays all actions against
U Lock.

THE COURT: Those actions are done. That's
what I'm trying to say. They are not proceedings that
are going on. She already has the ownership of the
property. So therefore -—- and by right, it's her
property. Now she can remove off anybody that she sees
as a squatter on her property by eviction, because
that's -- it's prior to the bankruptcy, unless you have
some case that indicates to me this real property is at
issue.

But the real property isn't even at issue in
the bankruptcy because it's not even an asset on April
the 28th, 2022 at 4:53 p.m. when Shanni Snyder filed
this.

MR. ROTH: We still believe the stay applies.
If you disagree with that --

THE COURT: Well, if I disagree with that and
I enter an order to that effect, obviously you can have
it reviewed by the bankruptcy court judge, who then

could, under the supremacy clause, indicate to the state

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court that an order issue suspending that possession.

But I think you're going to have to establish
with the Western District Bankruptcy Court a precedent
that indicates that or something statutorily that
applies under U.S. Code 11 Subsection 362 that is a
mandate that applies to a state enforcement of prior
conduct which is completed before the bankruptcy begins.

That's the dilemma. It's the timing of when
the bankruptcy began. I think you would be correct here
if this thing started prior to my April —- I believe
22nd Order of Court. If it was prior to the April 22nd
Order of Court of 2022, then you would have standing to
say I'm automatically stayed. This came in six days
after that order went into effect.

MR. ROTH: I understand.

THE COURT: And you don't have an appellate
order by mandamus or king's bench that says I must stay
the allowance of the state action below because all the
appeals are exhausted.

MR. ROTH: I understand what you're saying.

THE COURT: Correct?

MR. ROTH: We still submit we should have the
protection.

THE COURT: I understand. Mr. Otto.

MR. OTTO: Your Honor, if you would issue

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such an order, that would help us in the bankruptcy
court.

THE COURT: I think that's your third request
essentially is that the bankruptcy doesn't affect the
April 22nd, 2022, Order of Court for the deeds and
possession.

MR. OTTO: Right.

THE COURT: Okay. I think it does confound
you on the taxes. It does confound you on the vehicles.

MR. OTTO: That's the order related to Shanni
Snyder. Or the rule.

THE COURT: Anything further that you would
like on the record for today?

I'm going to take all this under advisement.
I am going to look into the bankruptcy U.S. Code Title
11 Subsection 362 to see if there's any binding by the
supremacy clause as to events that transpired before the
bankruptcy. Because that's the real issue. And if it
does bind me and I don't have the authority and/or
jurisdiction, then I'll agree with your automatic stay
and I'm done.

But if there's not, then I think that the
Court will find that the April 22nd, 2022, Order of
Court can still proceed because the bankruptcy came

afterwards.

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MR. OTTO: Your Honor, there is a recent
change to the bankruptcy code. I'm not a bankruptcy
attorney, so I don't have the citation. But it relates
to stays or the impact of stays on expired leases.

The reason for the change was that when a
tenant's lease expired, a tenant would often file a
bankruptcy petition to delay their eviction process.

So, the change in the bankruptcy code provided that if
the lease has expired, then the automatic stay does not
apply to efforts to regain possession.

I don't know the extent to which that applies
in this situation, but it is certainly an analogous case
where the debtor or U Lock has no right to the property.

THE COURT: You would assume that the
eviction here would more or less mirror a landlord
tenant like lease?

MR. OTTO: Yes. That's my point, Your Honor.

MR. ROTH: I can tell the Court that I've
done hundreds of bankruptcies, and I don't believe that
what he's arguing is going to apply to this particular
case.

THE COURT: See, I would tend to agree with
you if it was within the time frame subsequent to the
filing of the bankruptcy.

MR. ROTH: I understand.

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THE COURT: Then I think I'm bound
automatically. There's this question of six days before
I enter an order, because the appellate process or the
Commonwealth of Pennsylvania and then one allowance into |
the federal statement wasn't utilized.

So the question is, does that escape the
automatic stay of the bankruptcy and is permissibly
permitted to proceed in the form of an eviction for
possession?

He's saying even after a bankruptcy is filed
under a landlord/tenant type lease expired, the
automatic stay doesn't apply. I'm concerned that it
applies even less to an event that transpired before the
bankruptcy than subsequent to. And that's our dilemma.

Would you prefer to have leave to brief this
particular issue from both sides and submit that?

MR. OTTO: Your Honor —-

THE COURT: It wouldn't have to be anything
significant.

MR. OTTO: On one hand, I would love the
opportunity to do that. I'm also reluctant to cause my
client to have to spend more money to respond to
arguments which I believe are nonsense.

I have no problem, if Your Honor would like,

I can get the citation and any cases and provide them to

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both you and Mr. Roth.

THE COURT: Instead of a brief, legal
memorandum that would be in the form of a letter that
can be exchanged between counsel.

MR. ROTH: I can do it that way.

THE COURT: Here's my issue: What I would
like to do is I would like to have it in short order. I
don't want this languishing. Could you have it by close
of business next Friday at 5 p.m.?

MR. OTTO: Yes, Your Honor.

THE COURT: That would give you all of next
week, five business days to get it together, but seven
days from today.

And it doesn't have to be in the form of a
brief or anything, just a legal memorandum by
correspondence of any citations you want me to look at
or review so that Caitlin, my law clerk, and I can look
at those items and consider your argument that the
automatic stay is imposed upon me.

I would consider Mr. Otto's position that it
is not imposed upon me and does not subject my
authority. Is that agreeable?

MR. ROTH: That's fine.

THE COURT: We'll allow you to do that. I'm

going to look at everything in the intervening time, and

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then I'll defer ruling until after I receive the legal
memorandums. The earlier you get them to me, the
earlier I can issue orders.

But in reference to the Shanni Snyder case, I
am going to issue an order relative to that that is
permissible by Pennsylvania Rules of Civil Procedure if
I feel that it's my duty to do so.

MR. OTTO: Thank you, Your Honor.

MR. ROTH: Could I just add a little bit
about his request for sanctions and the amount?

THE COURT: Okay. Yes.

MR. ROTH: All right. I point out when
preliminary objections were filed by Mr. Otto, he filed
five or six issues in those preliminary objections. The
Court ruled on one of those.

Now they're making a claim and they're trying
to tack costs for all of this research on all of these
issues.

THE COURT: My question to you, Mr. Roth, is
why didn't you file a response to his motion that would
calculate down off of his billable time of $14,280,
which I don't think should even be considered?

MR. ROTH: Well --

THE COURT: If that's your argument now,

obviously I don't have the time this morning because of

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subsequent hearings that are coming up to go line by
line down to challenge his billable rate or his time.

MR. OTTO: Your Honor, with all due respect,
as I said earlier, and Mr. Roth isn't looking at it
obviously, but my summary, if you exclude the time prior
to November 19th, it takes out the preliminary
objections. From November 19 on was post-trial action.
There's a summary -——

THE COURT: If you look --

MR. OTTO: Next page. A little forward. A
little more.

THE COURT: A.

MR. OTTO: And the dates are on the left-hand
column, Your Honor. So if you exclude, I think, the
first three lines, then you get to November, my November
invoices.

THE COURT: There's a $1050 there.

MR. OTTO: The first couple were prior to the
November time frame.

THE COURT: I see.

MR. OTTO: So even if you take Mr. Roth's
argument about preliminary objections, that's excluded
from what I've said this morning.

THE COURT: I see. So there would be about,
looks like $3,025. If you take those -—-

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MR. OTTO: I believe it's around 8,000, Your
Honor. It's --

THE COURT: I'm just looking at the summary.
Oh, I see what you're seeing. The value of hours.

MR. OTTO: Right.

THE COURT: If you look at that, that's about
$18,000.

MR. OTTO: Well, no. If you look at the
fourth date down, that's 11-2-2019. And then go across
all the way to the far right-hand corner and total those
three numbers. It's around $10,000.

THE COURT: I see. Okay.

MR. OTTO: And that excludes, as Mr. Roth was
concerned about, my time for preliminary objections. In
fact, that excludes everything through trial.

THE COURT: Okay. I'm trying to follow you,
but your numbers aren't reconciling with my numbers.
Even if I take those four summation numbers to the far
right --

MR. OTTO: If you look on the far left
column, you see there's one billing for 11-7-2019. The
remaining three items are for billings after trial. If
you go to the far right hand, there's a number 205 plus
7,000 plus 1050. Those are the numbers I'm now asking

for sanctions for.

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THE COURT: I see. Okay. So there's a
modification then from the 14,280, because those are not
the preliminary objections or, if you will, prediscovery
hours billed.

MR. OTTO: Yes. And that is -- while I don't
agree with Mr. Roth's summary as to the effectiveness of
his bankruptcy filing, those three numbers there are
post his petition filing and are not discharged.
Whatever his theory is.

THE COURT: I will -- and that will be from
11-7 of '19 to the conclusion of that summation.

MR. OTTO: Yes, Your Honor.

THE COURT: With that modification and
adjustment, Mr. Roth, it goes from the 14,280, then it
appears to be between 8 or 9,000 dollars for the claim
now.

Are you still saying there's something else
that should be shaved off of it?

MR. ROTH: I would like to say this: For the
amount of time he's claiming, he's claiming six or seven
times the amount of time that I spent on the appeal and
the post-trial motions. That just doesn't seem
realistic.

Appeal and post-trial motions take time. But

he's taking six or seven times what my time was, and I

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don't think that's a fair analysis of the amount of time
that he really would have spent on those things.

THE COURT: I think that goes to the weight
that I would put into it by experience being on the
bench, by being a practicing solo attorney being in
private practice, as to whether that has reasonableness
or not.

So whatever weight and consideration I would
give it to a modification based upon your assertion that
it's unreasonable as far as his statement. Different
practices address different issues with different
insight and time.

I don't know how many times he had to meet
with his client to gain information. That would have
added to his response time. There's a lot of factors
that would have come into it. Is there a whole load of
research that you had to look into issues?

MR. OTTO: I had to not only read the cases
that he cited, I had to prepare my own brief.

Quite frankly, Your Honor, his brief was so
disjointed, I had to reorder the whole thing in order to
make sense of it for appellate purposes and for your
purposes.

THE COURT: Okay. I'll give it the weight

and credibility that I believe is reasonable and uses

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1 common sense relative to that. Thank you very much.
2 Anything further from counsel?
3 MR. ROTH: Nothing, Your Honor.
4 THE COURT: All right. We're concluded and
5 adjourned. I'll be looking for legal memorandums by
6 5 o'clock next Friday.
7 MR. OTTO: Thank you very much, Your Honor.
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9 PROCEEDINGS ADJOURNED AT 10:25 A.M.

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Allocatur Docket Sheet

Docket Number: 259 WAL 2021
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May 29, 2022

Supreme Court of Pennsylvania

Christine Biros, an individual, Respondent
v.

Initiating Document:

Case Status:

Journal Number:

Case Category:

U Lock Inc., a Pennsylvania Corporation, Petitioner

Petition for Allowance of Appeal

Active

Civil Case Type(s):

Declaratory Judgment
Equity

Quiet Title

Real Property

Attorney: Roth, John Allen
Address: 805 S Alexandria
Latrobe, PA 15650
Phone No: (724) 537-0939
Receive Mail: Yes
Receive EMail: Yes Email:
Representing: U Lock Inc., Petitioner
Pro Se: No
IFP Status:
Attorney: Otto, William E.
Law Firm of William E. Otto, Esq.
Address: Po Box 701
Murrysville, PA 15668
Phone No: (724) 519-8778
Receive Mail: Yes
Receive EMail: Yes Email:
Representing: Biros, Christine, Respondent
Pro Se: No
IFP Status:

Neither the Appellate Courts nor the Administrative Office of Pennsylvania Courts assumes any liability EXHIBIT D
for inaccurate or delayed data, errors or omissions on the docket sheets.
Case 22-20823-GLT Doc 24 Filed 05/31/22 Entered 05/31/22 11:31:28 Desc Main
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11:43 P.M.

Allocatur Docket Sheet

Docket Number: 259 WAL 2021
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May 29, 2022
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Supreme Court of Pennsylvania

Appeal From:

Appeal Filed Below:

Probable Jurisdiction Noted: Docketed Date: August 27, 2021
Allocatur/Miscellaneous Granted: Allocatur/Miscellaneous Docket No.:

Allocatur/Miscellaneous Grant Order:

Fee Dt Fee Name FeeAmt ReceiptDt Receipt No Receipt Amt

08/27/2021 Petition for Allowance of Appeal Filed 90.25 08/27/2021 2021-SUP-W-002013 90.25

Court Name: Superior Docket Number: 1841 WDA 2019

Date of Order: May 21, 2021 Rearg/Recon Disp Date: July 28, 2021
Rearg/Recon Disposition: Denied.
Judge(s): Shogan, Jacqueline O.
Stabile, Victor P.
King, Megan
Intermediate Appellate Court Action: Affirmed.

Referring Court:

Court Below: Westmoreland County Court of Common Pleas

County: Westmoreland Division: Westmoreland County Civil Division
Date of Agency/Trial Court Order: January 6, 2020

Docket Number: 17 CJ 04886

Judge(s): Smail, Harry F. OTN:

Order Type: Judgment

Original Record Item Filed Date Content/Description

Record Remittal:

Related Journal No: Judgment Date:
Category: Decided Disposition Author: Per Curiam
Disposition: Order Denying Petition for Disposition Date: January 19, 2022

Allowance of Appeal
Dispositional Filing: Author:

Filed Date:

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Allocatur Docket Sheet
Docket Number: 259 WAL 2021
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Supreme Court of Pennsylvania

Filed Date Docket Entry / Representing Participant Type Filed By
August 27, 2021 Petition for Allowance of Appeal

Petitioner U Lock Inc.
August 27, 2021 Reproduced Record

Petitioner U Lock Inc.
September 8, 2021 Answer to Petition for Allowance of Appeal

Respondent Biros, Christine
January 19, 2022 Order Denying Petition for Allowance of Appeal

Per Curiam

Comments:

AND NOW, this 19th day of January, 2022, the Petition for Allowance of Appeal is DENIED.

January 19, 2022 Order Exited
Office of the Prothonotary

February 2, 2022 Application Pursuant to Pa.R.A.P. 2572(c) to Stay Remand of Record Pending US
Supreme Court Review -
Petitioner U Lock Inc.

February 15, 2022 Answer to Application to Stay Remand and Application for Appropriate Security

Respondent Biros, Christine
March 16, 2022 Order Granting Stay of Remand of Record Pending US Supreme Court Review
Per Curiam

Comments:

AND NOW, this 16th day of March, 2022, the Application to Stay Remand of Record Pending United States Supreme
Court Review is GRANTED. Additionally, in accordance with Pa.R.A.P. 2572(d), Petitioner is hereby instructed to pay
all accrued and unpaid real estate taxes and to keep such taxes current during the pendency of its occupancy of the
Property.

March 16, 2022 Order Exited

Office of the Prothonotary

May 11, 2022 Bankruptcy Notice - Action Stayed
Supreme Court of Pennsylvania

Docket Number: 1841 WDA 2019

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IN THE SUPREME COURT OF PENNSYLVANIA
WESTERN DISTRICT

CHRISTINE BIROS, AN INDIVIDUAL, > No. 259 WAL 2021

Respondent

U LOCK INC., A PENNSYLVANIA
CORPORATION,

Petitioner

ORDER

PER CURIAM

Desc Main

AND NOW, this 16°" day of March, 2022, the Application to Stay Remand of Record

Pending United States Supreme Court Review is GRANTED. Additionally, in accordance

with Pa.R.A.P. 2572(d), Petitioner is hereby instructed to pay all accrued and unpaid real

estate taxes and to keep such taxes current during the pendency of its occupancy of the

Property.

EXHIBIT E
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Ms. Christine Biros

P.O. Box 550
1985 Lincoln Way
White Oak, PA 15131
May 5, 2017
Mr. George Snyder
U-Lock Inc.
14140 State Route 30

North Huntingdon, PA 15642
RE: Loan from Christine Biros to U Lock Inc.
Dear Mr, Snyder:

The purpose of this letter is to document a loan (the “Loan”) to U-Lock Inc. (the “Borrower”)
from me (the “Lender” for the purchase of real estate located at 14140 State Route 30, North
Huntingdon, PA 15642 (the “Property”). On July 16, 2015 (the “Loan Date”), the sum of Three Hundred
Twenty-Five Thousand and no/100 Dollars ($325,000.00) (the “Proceeds”) was advanced to the
Borrower to purchase the Property.

On the Loan Date, the Proceeds were paid to the sellers of the Property. At that time, the
Borrower delivered a signed document to me comnuitting to terms of payment to be agreed upon on or
before August 16, 2015. The document also provided that in the event no agreement was reached, the
Lender would set the terms of payment. That date has passed with no agreement having been reached.

In addition, despite the passage of almost two years, the deeds which were delivered to the
Borrower (the “Deeds”) evidencing the transfer of title to the Property to the Borrower have not been
recorded and no repayments of the Proceeds have been made.

Since U-Lock has had access to the Property and the use of the Proceeds for'almost two years, I
have added the accrued interest to the Proceeds in order to establish the amount of the Loan. Based on
the date on which the Proceeds were advanced, J uly 16, 2015, using an interest rate of nine percent (9.0
%) and assuming that this transaction closes on or before June 15, 2017, the amount of interest to be
added to the Proceeds is Sixty Thousand Nine Hundred Thirty-Nine and 85/100 Dollars ($60,939.85).

As a condition to proceeding with this Loan transaction, there will be guarantee agreements
signed and delivered by you, Kash Snyder and Erik Martin. All three have been involved in this
transaction in one manner or another and since no payments have been made since July 16, 2015, it is
appropriate that all three execute guarantees assuring the Lender of repayment. You, Kash Snyder and
Erik Martin are collectively referred to in this letter as the “Guarantors”.

Accordingly, the Borrower and Guarantors agree as follows.

1, The following transaction will be closed on or prior to June 15, 2017 (the “Closing
Date”)

On the Closing Date, the Borrower and the Guarantors will execute and deliver
appropriate loan documents to evidence and secure the Loan. The loan documents will

EXHIBIT G

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Mr. George Snyder

U Lock Inc.
May 5, 2017

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include, but not be limited to, the following: a Note, a Mortgage and an Assignment of
Leases and Rents, all executed by the Borrower, and Guarantees executed by the
Guarantors. In addition, the Borrower will provide appropriate corporate documents
evidencing the Borrower’s authorization of the Loan. All documents and documentation
will be in form acceptable to Lender and Lender’s counsel.

The Note will be in the face amount of the sum of Three Hundred Eighty-Five Thousand
Nine Hundred Thirty-Nine and 85/100 Dollars ($385,939,85) plus the additional charges
advanced by the Lender pursuant to Section 5 below. The Note will bear interest at an
annual rate of nine percent (9.0 %) per annum, with monthly payments of principle and
interest, based on an amortization of ten (10) years, with a balloon payment of the
outstanding balance of the Loan due on or before June 1, 2022.

On the Closing Date, the Deeds will be delivered to Lender’s counsel for recording.

The Lender will advance the following charges, all of which will be added to the
principal balance of the Loan. These amounts will be finalized at the closing and will be
evidenced on the face of the Note.

(a) recording fees and transfer taxes due and owing on the Deeds;

(b) the Lender’s legal fees; and

(c) any other charges which Lender may incur for this transaction.

The undersigned represent that they are authorized to execute this letter agreement on behalf of
the Borrower. The undersigned also acknowledges that this letter agreement is binding upon each of the
Guarantors and the Borrower and is fully enforceable.

Very truly yours,

Christine Biros

INTENDING TO BE LEGALLY BOUND, AGREED TO AND ACKNOWLEDGED THIS

DAY OF MAY, 2017:

BORROWER: GUARANTORS:

U LOCK INC. GEORGE SNYDER
By:

Name: George Snyder George Snyder
Title:

Kash Snyder

Erik Martin
CLERK’S OFFICE

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF PENNSYLVANIA
5414 USX TOWER

c 600 GRANT STREET
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